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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION

UNITED STATES OF AMERICA, : Case No. 3:19CR174
Plaintiff, : Judge Walter H. Rice
ee
ZACHARY MARRA,
Defendant.

FINAL ORDER OF FORFEITURE

Upon the United States’ Motion for Final Order of Forfeiture and the Court’s review of the
record, the Court HEREBY FINDS THAT:

On April 2, 2020, the Court entered a Preliminary Order of Forfeiture, finding that all right,
title, and interest in a Google Pixel 2 XL, Android ID: f741f352f258f68 (hereinafter the “subject
property”) had been forfeited to the United States pursuant to 18 U.S.C. § 2253(a)(1) and (3).

The Court also found that the defendant had an interest in the subject property and directed
the United States to seize the subject property and to give notice of its intent to forfeit the property.

The United States gave electronic notice through the CM/ECF notification system of the
Motion for Preliminary Order of Forfeiture to counsel for the defendant, and the defendant did not
object thereafter to the forfeiture.

On July 13, 2020, the Court held the defendant’s sentencing hearing and announced the
forfeiture of the subject property. The Judgment establishes that the defendant shall forfeit the
subject property to the United States.

The United States published notice of this forfeiture action and its intent to dispose of the

subject property in accordance with the law on an official internet government forfeiture site
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(www.forfeiture.gov) for at least 30 consecutive days, beginning on June 12, 2020.

The United States did not send direct written notice of the Preliminary Order of Forfeiture
because no person or entity reasonably appeared to be a potential claimant with standing to contest
the forfeiture of the subject property in the ancillary proceeding.

No person or entity has filed a timely petition with the Court asserting any interest in the
subject property or objecting to its proposed forfeiture.

THEREFORE, IT IS HEREBY ORDERED THAT:

1. All right, title, and interest in the subject property is condemned and forfeited to the
United States under 18 U.S.C. § 2253(a)(1) and (3), and no right, title, or interest shall remain in
any other person or entity.

2. The United States shall dispose of the subject property in accordance with the law.

Z, The United States District Court shall retain jurisdiction in the case for the purpose
of enforcing this Final Order of Forfeiture.

SO ORDERED:

Dated: 1-f+— 21 UT diieus wean

WALTER H. RICE
UNITED STATES DISTRICT JUDGE
